                                                                                                      Electronically Filed - Jackson - Kansas City - March 19, 2020 - 06:16 PM
                                                                                 2016-CV09601

           IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                AT KANSAS CITY
SHELIA REDICK                       *
                                    *
                     Plaintiff,     *
                                    *
vs.                                 *    Case No.
                                    *
CANYON CREEK                        *
APARTMENTS LLC                      *
Serve: Nicholas J. Porto, R.A.      *
1600 Baltimore, Site 200A           *
Kansas City, Mo. 64108              *
                 Defendant.         *

                              PETITION FOR DAMAGES




    1.        This action is brought pursuant to the Missouri Human Right Act, the Americans
with Disabilities Act and the Federal Fair Housing Act to remedy acts of housing
discrimination, taken by Defendant, by and through their agents and/or employees against
Plaintiff based upon her disability.

    2.        This Court has subject matter jurisdiction over the claims raised herein pursuant
to Section 213.111.1 R.S. Mo

    3.        Venue is proper in Kansas City, Jackson County, Missouri.

    4.        Plaintiff, Shelia Redick is a female citizen of the United States and of the State of
Missouri. At all times relevant herein Plaintiff resided in Kansas City, Jackson County,
Missouri. At all times relevant to this Complaint, Plaintiff was a tenant of Defendant pursuant
to a written lease for the 12-month period from May 1, 2017 to April 30, 2018 for a unit
located on the second floor as 9342 Bales, Apt. D.

    5.        During the course of the year Plaintiff was diagnosed and treated for a serious
and permanent disease which disabled her from walking the more than fifteen steps which
provided the only access to the second-floor unit.

    6.        On or about February 13, 2020 Plaintiff received letter from Defendant which is
attached hereto and incorporated herein as Exhibit A.



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     7.         The letter advised Plaintiff that her lease would renew on May 1, 2018, and the
monthly rate if plaintiff chose to enter a new yearly lease ($799) and a higher rate ($877) if
plaintiff chose not to renew and instead became a month to month tenant.

     8.         The letter further instructed that if Plaintiff did not renew by the last day of the
current tenancy, April 30, 2018 she would be placed on the month to month rental of $877.

     9.         The letter did not state that Plaintiff’s tenancy would be terminated.

     10.        In response to the letter, Plaintiff went to Defendant’s onsite management and
verbally advised her of her medical diagnosis and that she was having extreme difficulty
climbing the number of steps to the second-floor unit. She requested to lease and/or to transfer
to a first-floor unit.

     11.        Defendant’s management agent requested that Plaintiff provide a physician’s
statement verifying her condition. Plaintiff responded that she would obtain it at her next
doctor’s appointment.

     12.        Dr. Mark Belizikijian of St. Luke’s Hospital documented in a March 19, 2018
letter, attached hereto and incorporated herein as Exhibit B, that Plaintiff required
accommodation to a first-floor apartment.

     13.        Plaintiff hand-delivered the March 19, 2018 letter from her physician to
Defendant management that same day, March 19, 2018.

     14.        The next day, by letter dated March 20, 2018, Defendant hand delivered to
Plaintiff, Exhibit C, attached hereto and incorporated by reference, Notice to Vacate-
Termination of Lease.

     15.        Exhibit C states that Plaintiff’s lease is terminated effective April 30, 2018, that
her lease will not be renewed and that if she fails to move out by April 30, 2018, legal action
will be taken against her to regain possession of the property.

     16.        At subsequent physician appointments on March 26 and 28, 2018 Plaintiff
obtained and submitted to Defendant additional written verifications of her need for
accommodation to a first-floor unit from her physicians, Exhibit D and E, attached hereto and
incorporated herein by reference.




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       17.         Despite Plaintiff’s numerous medical verifications of her need for
 accommodation to a first-floor unit, Defendant failed and refused to provide said
 accommodation which was available, and instead retaliated against Plaintiff for requesting
 said accommodation by terminating her lease and requiring her to vacate her apartment under
 threat of legal action.

       18.          Plaintiff’s timely Charge of Discrimination, H-09/18-04655; was dually filed
 with MCHR and the U.S. Department of Housing (HUD) on September 4, 2018, attached to
 and incorporated by reference as Exhibit F. More than 180 days have passed. On March 5,
 2020 Plaintiff filed with MCHR her Request to Issue Notice of Right to Sue, attached hereto
 and incorporated herein as Exhibit G.

       19.         The treatment accorded Plaintiff by Defendants, as specified in paragraphs 1-18
 above was the result of intentional discrimination and retaliation against Plaintiff.

       20.           As a result of this action, Defendants willfully, wantonly, recklessly and
 maliciously violated and continue to violate the MHRA and the FHA by discriminating and
 retaliating against Plaintiff.

       21.          As a result of Defendants' unlawful conduct in violating the above laws’
 prohibition against discrimination and reprisal, Plaintiff has suffered and continues to suffer
 damage in cost of displacement and moving, higher rent payment, embarrassment, humiliation
 and mental and emotional pain, including, without limitation, physical pain and injuries
 related to stress and anxiety.

       22.         The conduct of Defendant was malicious and/or in reckless disregard for Plaintiff’s
 rights, such that Plaintiff is entitled to an award of punitive damages.

               WHEREFORE, Plaintiff requests that the Court grant her, pursuant to a verdict by
     a jury, judgment against Defendant in such amounts that are fair and reasonable and for her
     costs and attorneys’ fees and for such other relief as the court deems just and proper. In
     addition, Plaintiff asks the Court to:

a.           Enter Judgment pursuant to a jury verdict that the acts and practices of the Defendant
         complained of by Plaintiff herein are violations of MHRA and the FHA.

b.       Pursuant to a jury verdict, award Plaintiff compensatory and punitive damages for
         emotional pain and suffering, mental anguish, and stress and other actual damages and
         award Plaintiff punitive damages as awarded by the jury; and,

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                                                                                                       Electronically Filed - Jackson - Kansas City - March 19, 2020 - 06:16 PM
c.        Award Plaintiff the costs of this action, and the administrative complaints which
          preceded it, including the fees and costs of any experts, along with reasonable attorneys’
          fees;

d.        Award Plaintiff interest on any such amounts of monies awarded herein; and,

e.        Require Defendant to place Plaintiff in the same or similar position she would have been
          in absent the illegal discrimination, including the removal of all references to
          termination of the lease in Defendant’s record.
     f.     Enjoin Defendant permanently from discriminating and retaliating against Plaintiff.




                                                     Respectfully submitted,

                                                     Wells & Ramsey LLC




                                                By: /s/Karon D. Ramsey.
                                                      Karon D. Ramsey
                                                      Mo. Bar 29642
                                                      1115 East 65th St.
                                                      Kansas City, MO 64131
                                                      (816) 333-1414
                                                      (816) 523-2362 (fax)
                                                      karonramsey01@att.net

                                                       Attorney for Plaintiff




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February L3,2Ot8



Sheila Redick
9342 Bales Avenue #D
Kansas City, MO 64132



Dear Sheila Redick,

As the timefor your lease renewal approaches, the management staff of Canyon Creek Apartments
hope that we have made this year a pleasant and satisfying experience for you.

Your current lease will renew on May     LZAt9.
    r   your renewal 12 months' rent will be 5799.00. This rate does not include any additionalfees
        such as pet or Parking.
    .   lf you elect not to renew your lease, the month-to-month rate will be S874.00.

please contact our office within 30 days of this renewal letter for your lease renewal' lf the
                                                                                    exSiiration date, you
management do notJ"eceive a response by the last day of the month of your lease
will be placed on month-to-month rate listed above.

                                                                           you must come to the office
lf you choose to vacate your apartment upon the expiration of your lease,
                                                                                   date'
to fill out a proper 30 days' notice before your move-out date or lease expiration

                                                                     (316) 763-64A0'
lf you have any questions or concerns, please callthe main office at



Respectfully,


eila.    rola*e
Canyon Creek I www.canvoncreekapartmentsllc.corn
9355 Bales Avenue Kansas City, Missouri 64t32
office: (816) 763-6400 I fax: (816) 763-A266
cjohnson @canyoncreekapartmentsllc.com




                                                                       EXHIBIT A


                                                     ^/'


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                                                                                                                                           2016-CV09601
                                                          Saint Luke's
                                                          Health System

3/19/L8

To whom   it   maY concernl:


Ms. Redick is seeing me Pt Saint Luke's Pain clinic
                                                    for multiple painful issues'


She is no longer safe to Fo up and down steps to her
                                                     apartment and efforts should be made
immediately to procure trer a Lst floor apartment'




  W
Thank you,




Mark Bilezikjian, MD




                                                                                             .EXHIBIT B




                                 4401 WornallRoad, KansasCity, MO &111e^ 816-932-2000
          Case 4:20-cv-00538-HFS Document 1-1 Filed 07/07/20 Page 6 of 17
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                                                                                     services are provided on a nondiscriminatory
                        Saint l]uke,s Heahh system is an Equal 0pportunity Empl0yer.
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                          NYON
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                                                            CREEK
                   ^t
                                           9355 Bales Avenue
                                       Kansas CitY, Missou t't   &t32
                                                (8161763-6400



March 29,2018



Sheila Redick
9342 Bales Avenue #D
Kansas City, Missouri 54132



RE: t{ordce   b Vsb - Tenninatio d      Lease   Agr€eflnlil


you are hereby notified of the termination of your tease Agreement effective 04'l3Ol2A13'



At this time, we will not be offering to tenew your hase agreement'



Please vacate the premise and return keysto Management by 5pm on April30,
                                                                                  2018' You are
responsible for rent and utilities wftal0rr/fi|z1l8. lf you failto move out by this
                                                                                    date, we will be forced
to take legalaction to regain possession of the property-



As a reminder you are responsible   for arry damages to the unit. We ask that you leave it clean to
prevent any move out charges.



Thankyou,



Management



                                                                 EXHIBIT C

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 Payee




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                         W 103rd Price Chopper
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 Location:        6777

 PLEASE COMPLETE AND SIGN MONEY ONDER PROMPTLY                                                     SAVE THIS RECORD



 HARLAND   oLARKE 20745 (01n3) 70303549




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    Shelia Elizabeth Red!
                                                                                                                                      Kansas CitY' MO           64tL4'


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             Dear Doneisha M Love:
             Thank you for interest in Willow Creek Apartments! The application for apartment 32O-LO2 was denied on
             March LS,ZOLA. Unfortunately, we are unable to approve your application at this time. The application fees
             are non-refundable. The Security Deposit is refundable and the amount to of 5450.0O will mail to the above
             fwd- address within       3O days.


             We wish you the best of [.lck in the future! Please contact us at the office 8L6'942.7779 if you have any
             questions regarding this statement.

             Sincerely-
             Amanda Lau
             Accounting Manager I Landmark Reality
             Wil low Cree k/ Ashton Cou rtl Ashton P lace Apa rtments
             201W 99th Terr. Kansas City, MO 641L4
             8L6-942-7779
             a   rna nda I @wil   lowreekaptskc.com




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                                                  Property                       Lease From   04l2elml8
Code        1AO22IZ2

                                                  Unit       328-LOz             Lease To     04130/20t9
Name        Shelia Redick

                                                  Status     Denied              Move In      04l28l2ot8
Address     9342 Bales Ave.

                                                  Rent       825,00              Move   out

                                                                                 Notice
Cib/        Kansas   cify,   MO 64132


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Lr.:.i



          Dear Shelia Redick:
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          Thank you for interest in Willow Creek ApartmentslThe application for apartment
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          March !s, zatg.unfortunately, we are unable to approve your application
          are non-refundable. The security Deposit is refundable and the amount
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          fWd. address within 30 daYs.

                                                                                       816.942.7779 if you have any
          We wish you the best of luck in the future ! Please contact us at the office
          q uestions rega rd ing this statement.


          Sincerely-
          Amanda Lau
          Accounting Manager I Landmark Reality
          Willow Creek/ Ashton Court/ Ashton Place Apartments
          zOlW 99th Terr. Kansas CitY, MO ilLl4
          8!6-942-7779
          amandal@willowcreekaPtskc.com                        :




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                                                     Move OutStatement                                            Date 03/16/2018




Cgde          ffi                                  Pmperty                         Lease From   s4lm120t8

Name                      M Lo!'e                  Unit      320-rfi2              Lease To


Mdress              gales Ave.                     Status                          Move Ir]     u.il   el zvtlj
                                                   Rent
                                                             tsrsoo      ---l      Move Out


oty                   Ctt{, MA 64132                                               Notice


Telephone     (0)-{816}   658-800s (H)-{   )   -




            Dear Doneisha M Love:
            Thank you for interest in Willow Creek Apartments! The application for apartment  3z}-t}Zwas denied on
            March L5,2AI8. Unfortunately, we are unable to approve your application at this time. The application fees
            are non-refundable. The Security Deposit is refundable and the amount to of 5450.00 will mail to the above
            fwd. address within 30 days.

            We wish you the best of luck in the future! Flease contact us at the office 816.942.7779 if you have any
            questions regarding this statement.

            Sincerely-
            Amanda Lau
            Accounting Manager I Landmark Reality
            Willow Creek/ Ashton Court/ Ashton Place Apartments
            201W 99th Terr. Kansas City, MO 647L4
            81G942-7779
            a ma nda @wil lowcreekaptskc. com
                      I




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 Ca   nyon    C   reet Apartnents                                                    Bank of the West
 9355 dates Drrue,,                                                                  Mission Branch

 Kansas Cib/ MO 64132                                                                San Francisco CAS,4110
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                                                     FIFTY AND OO/1OO                   DOLLARS

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ORDER OF
                                                                                                   03   /23 / 20rB   $450.00*****

                  Shelia Redic              & Doneisha Love
                  9342 Bales A
                  Kansas City'                     64132              .uu

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 DATE:}3/23/2018 CK*24284 TOT4:S450.00*****                    BANK:Ca.4yon Creek Disburs.ement:s (Ccdisbur)
 PAYEE:Shelia Redick & Doneisha +oveft0A22l22)


                                            lnvoice - Date                           Description                       Amount
PropertyAddress -Code
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                                                                       Saint Luke's Primary Care - plaza
                                                                       4321 Washington St
                                                                       Suite 3000
         frEED]{AL GRCUP                                               Kansas City MO 64111
                                                                       Phone: 816-932-3100
                                                                       Fax: 816-932-6871




March 26,2018

Patient:       Sheila E Redick
Date of Birth: 1/1911962
Date of Msit: 3/26/2018


To Whom lt May Concern:

It is my medical opinion tha! Sheila Redick is unable to climb steps she should
                                                                                be moved to a lower level
apartment due to safety and hqalth issues.

lf you have any qu"*tion. or concerns, please don,t hesitate to call.




                                                                                EXHIBIT D




                                                    saintl u keshealthsystem.org
              Saint Luke,s Health SyEfem is an Equai Opportunity Employer. Services arJ provided on a nondiscriminatory basis.




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                                                                          Saint Luke's Gancer SPecialists

flSSaintLuke's
        CAHCEH IHSTITUTE
                                                                          4321 Washington St
                                                                          Suite 4000
                                                                          Kansas City MO &111
                                                                          Phone: 816-932-3300
                                                                          Fax: &16-932-5793




March 28,2018

Patient:       Sheila E Redick
Date of Birth: 1/19/1967
Date of Visit 3/28/2018


To Whom lt May Concern:

It is my medical opinion that Sheila Redick be moved to the first floor due to her neuropathy. This makes it
difficult for her to tlimU stairs. This is a safety concern as she has fallthree times in the last month related to
climbing stairs.

lf you have any questions or concems, please don't hesitate to call me at 816-932-6199.



Sincerely,



Timothy J Pluard, MD




                                                                                            EXHIBIT E




                                                         sai ntt   ukeshealthsystem'org
                                                                        Etpioy"t.'sutices   ar6 provided on a nondiscriminatory basis
                   Saint Luke,s Health System is an Equal Opportunity



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